 Appeal from an order of the Supreme Court, Onondaga County (Deborah H. Karalunas, J.), entered August 7, 2014. The order denied the motion of defendants Forba Holdings, LLC, now known as Church Street Health Management, LLC, Forba NY, LLC, and Small Smiles Dentistry of Syracuse, LLC, for recusal of the court. Now, upon the stipulations and orders of discontinuance signed by the attorneys for the named parties listed above on September 27, October 4, 9 and 12, 2016, and by the court on December 13, 2016, and filed in the Onondaga County Clerk’s Office on December 13, 2016, It is hereby ordered that said appeal is unanimously dismissed without costs upon stipulation. Present—Scudder, P.J., Smith, Carni, Lindley and DeJoseph, JJ. 